                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Lynchburg Division

  CRYSTAL VL RIVERS,                           )
      Plaintiff,                               )       Civil Action No. 6:18-cv-00061
                                               )
  v.                                           )       ORDER
                                               )
  UNITED STATES OF AMERICA, et al.,            )       By:     Joel C. Hoppe
       Defendants.                             )               United States Magistrate Judge

         This matter is before the Court on pro se Plaintiff Crystal VL Rivers’s “Motion for a

  More Definite Statement/Certification,” ECF No. 306 (citing Fed. R. Civ. P. 12(e)), in which she

  asks Defendant United States of America “to correct and complete” several perceived

  deficiencies in its Motion to Substitute and Certification under the Federal Tort Claims Act, 28

  U.S.C. § 2679(d), and Motion to Dismiss under Rule 12(b) of the Federal Rules of Civil

  Procedure, see ECF Nos. 294 to 296. Rule 12(e) permits a party to “move for a more definite

  statement of a pleading to which a responsive pleading is allowed but which is so vague or

  ambiguous that the party cannot reasonably prepare a response.” Fed. R. Civ. P. 12(e) (emphasis

  added). Only certain papers—namely complaints and answers to complaints and counter-

  claims—are considered “pleadings” under the Federal Rules. Fed. R. Civ. P. 7(a). Rule 12(e)

  therefore does not extend to written “motions and other papers,” Fed. R. Civ. P. 7(b), besides

  “pleading[s] to which a responsive pleading is allowed,” Fed. R. Civ. P. 12(e). See Boyajian v.

  United States, 825 F. Supp. 714, 716 n.2 (E.D. Pa. 1993).

         Accordingly, Plaintiff’s “Motion for a More Definite Statement/Certification,” ECF No.

  306, is hereby DENIED.

         It is so ORDERED.

         The Clerk shall send a copy of this Order to the parties.



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                                           ENTER: December 18, 2019



                                           Joel C. Hoppe
                                           U.S. Magistrate Judge




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